             Case 1:18-cr-04176-JB Document 54 Filed 05/17/19 Page 1 of 2



                         IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,                            )
                                                     )
                Plaintiff,                           )
                                                     )
       vs.                                           )       CRIMINAL No. 18-4176 JB
                                                     )
STERLING ISLANDS, et al.,                            )
                                                     )
                Defendants.                          )

              UNITED STATES’ NOTICE OF WITHDRAWAL OF
     UNITED STATES’ MOTION FOR TWO-WEEK TIME EXTENSION TO FILE
    RESPONSE TO DEFENDANTS’ MOTION TO COMPEL DISCOVERY (Doc. 51)

       The United States hereby withdraws its “Motion for Two-Week Time Extension to File

Response to Defendants’ Joint Motion to Compel Discovery.” Doc. 51. The United States

realized after it filed its motion for time extension that the Court’s Scheduling Order does not

require responses to discovery motions until June 5, 2019. Accordingly, the United States’

motion was unnecessary. The United States intends to respond to Defendants’ Joint Motion to

Compel Discovery (Doc. 49) in the time already allotted by the Court.



                                                     Respectfully submitted,

                                                     JOHN C. ANDERSON
                                                     United States Attorney


                                                     /s/
                                                     KRISTOPHER N. HOUGHTON
                                                     SEAN P. SULLIVAN
                                                     Assistant U.S. Attorneys
                                                     P.O. Box 607
                                                     Albuquerque, New Mexico 87103
                                                     (505) 346-7274
          Case 1:18-cr-04176-JB Document 54 Filed 05/17/19 Page 2 of 2




                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 17th day of May, 2019, I filed the foregoing pleading
electronically through the CM/ECF system, which is designed to cause counsel of record for the
defendant to be served by electronic means.


                                                     /s/
                                                   KRISTOPHER N. HOUGHTON
                                                   Assistant U.S. Attorney
